Case 4:15-cv-02404 Document 161 Filed on 08/07/19 in TXSD Page 1 of 4

IN THE UNITED STATES COURT OF APPEALS
FOR THE FIFTH CIRCUIT

 

 

United States Courts
Southern District of Texas United States Court of Appeals
FILED FILED
August 07, 2019 No. 18-20286 July 16, 2019
David J. Bradley, Clerk of Court Lyle W. Cayce

D.C. Docket No. 4:15-CV-2404 Clerk
D.C. Docket No. 4:15-CV-2540

POLICE AND FIRE RETIREMENT SYSTEM OF THE CITY OF DETROIT,
ET AL,

Plaintiffs - Appellants
Vv.
PLAINS ALL AMERICAN PIPELINE, L.P. ET AL,

Defendants - Appellees
JIGS ICICI CII GI ICSI IRR ICICI IEE I ISIS TC CIC ISI CIID GR TCI III ITI RR
JACKSONVILLE POLICE AND FIRE PENSION FUND,

Plaintiff - Appellant

V.
PLAINS ALL AMERICAN PIPELINE, L.P. ET AL,

Defendants - Appellees

Appeals from the United States District Court for the
Southern District of Texas

Before STEWART, Chief Judge, and SOUTHWICK, and ENGELHARDT,
Circuit Judges.
Case 4:15-cv-02404 Document 161 Filed on 08/07/19 in TXSD Page 2 of 4

JUDGMENT

This cause was considered on the record on appeal and was argued by
counsel.

It is ordered and adjudged that the judgment of the District Court is
affirmed.

IT IS FURTHER ORDERED that each party bear its own costs on
appeal.

 

Certified as a true copy and issued
as the mandate on Aug 07, 2019

Attest: Suge W. 0 be

Clerk, U.S. rt of Appeaks, Fifth Circuit
Case 4:15-cv-02404 Document 161 Filed on 08/07/19 in TXSD Page 3 of 4

United States Court of Appeals

FIFTH CIRCUIT
OFFICE OF THE CLERK

LYLE W. CAYCE TEL. 504-310-7700
CLERK 600 S. MAESTRI PLACE,
Suite 115
NEW ORLEANS, LA 70130

August 07, 2019

Mr. David J. Bradley

Southern District of Texas, Houston
United States District Court

515 Rusk Street

Room 5300

Houston, TX 77002

No. 18-20286 City of Birmingham, et al v. Plains All
American Pipeline, et al
USDC No. 4:15-CV-2404
USDC No. 4:15-CV-2540

Dear Mr. Bradley,

Enclosed is a copy of the judgment issued as the mandate and a
copy of the court's opinion.

Sincerely,

LYLE W. CAYCE, Clerk

By:
Debbie T. Graham, Deputy Clerk

 

cc:
Ms. Susan Katina Alexander
Mr. Darryl J. Alvarado
Mr. Norman J. Blears
Mr. Luke O. Brooks
Mr. Jeffrey Crough
Mr. Matthew James Dolan
Ms. Yolanda Cornejo Garcia
Mrs. Jamie Gilmore
Mr. Michael Conrad Holmes
Mr. Jeffrey S. Johnston
Mr. Joe Kendall
Ms. Angel P. Lau
Mr. Andrew Love
Ms. Kimberly Rae McCoy
 

Case 4:15-cv-02404 Document 161

Ms.
Ms.
Mr.
Mr.
Mr.
Ms.
Mr.

Yvette Ostolaza
Ashley M. Price
Robert Ritchie
Jeremy P. Robinson
David Yeh Sillers
Robin Eve Wechkin
Craig Eric dZieminski

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